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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

AUDREY MICHAEL,
Plaintiff,

V. Civil Action No. 3:18-cv-l25-JAG

VIRGINIA COMMONWEALTH UNIVERSITY,
Defendant.

OPINION

Audrey Michael, a 51-year-old African American Woman, began working as a senior
compliance and policy analyst for Virginia Commonwealth University (“VCU”) in March, 2013.
In 2015, Michael’s supervisor, Jacqueline Kniska, made several derogatory remarks about African
American women during a meeting Soon after reporting these remarks to a supervisor, Michael
received an increased Workload, tightened deadlines, and a negative performance evaluation.
Michael left her job with VCU on October 27, 2015.

Michael initially brought an eleven-count complaint against VCU that included claims
under Title VII of the Civil Rights Act of 1964. VCU moved to dismiss the complaint The Court
granted VCU’s motion but gave Michael leave to amend her Title VII claims.

Michael now brings a six-count amended complaint against VCU for Title VII violations
and intentional infliction of emotional distress (“IIED”). Because Michael’s amended complaint
fails to adequately plead Title VII claims, and sovereign immunity bars her IIED claim,l the Court

will grant VCU’s motion to dismiss.

 

' The Court gave Michael leave to amend only her Title VII claims, and she did not move for leave
to add an IIED claim. In any event, sovereign immunity prevents l\/lichael from suing VCU for
IIED.

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II. FACTS IN THE AMENDED COMPLAINT

In Michael’s first complaint, she cited a July, 2015 meeting in Which Kniska called an
Afriean American woman’s name “so ghetto.” (Compl. 1[ 10.) At the same meeting, Kniska asked
who was responsible for “hiring these people,” referring to two African American women. (Ia'.)
Finally, Kniska complained about an African American woman’s comment that VCU did not
employ enough African Americans. Kniska wondered aloud what Would happen if she complained
that VCU did not employ enough women. Michael complained to superiors about these comments.
After she complained, Kniska assigned Michael extra tasks, found fault in her Work,
communicated with her almost solely by e-mail, denied her the opportunity to attend a conference,
and ignored her request for annual leave. On October 21, 2015, Kniska issued Michael a poor
performance evaluation. Michael complained again about her work environment before resigning
on October 27. Michael later learned that VCU’S System listed her employment as “terminated,”
rather than “resigned.” (Compl. 11 32.)

In her amended complaint, Michael alleges several additional pertinent facts. First, not
only did Kniska assign Michael additional work, but she also imposed unreasonable deadlines for
that work. As a consequence of not meeting the deadlines, Kniska punished Michael with a poor
performance review. Kniska did not assign extra Work or unreasonable deadlines to any “similarly
situated Caucasian employee[s].” (Am. Compl. 1[ 20, 21.)

Michael claims that she “experienced such ongoing harassment that she felt the only way
to stop it was to resign,” and that VCU “constructively terminated” her. (Am. Compl. 11 39, 41.)
She also alleges that VCU improperly listed Michael as “terminated,” which allowed VCU to deny

her continued benefits and'delayed her start date at her next job. (Am. Compl. 11 46.)

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Finally, Michael says that she suffers from post-traumatic stress disorder (“PTSD”). Due
to her experiences at VCU, she suffered sleeplessness and had to increase her PTSD medication

The amended complaint alleges six counts: (I) violation of Title VII based on race
discrimination; (II) violation of Title VII based on a hostile work environment; (III-V) violations
of Title VII based on three retaliation incidents; and (Vl) IIED. VCU moved to dismiss all claims.

II. DISCUSSION2
A. Count I: Race Discrimination

Under Title VII, an employer may not refuse to hire, discharge, or otherwise discriminate
against an individual regarding compensation, terms, conditions, or privileges of employment, due
to the individual’s race, color, religion, sex, or national origin. 42 U.S.C. § 2000e-2(a)(l).
Without direct evidence of racial discrimination, a plaintiff alleging race discrimination under Title
VII must establish:

(l) that she Was a member of a protected racial, ethnic, or other group; (2) that she

experienced an adverse employment action; (3) that at the time of the adverse

employment action, she was performing her job at a level that met her employer's

legitimate expectations; and (4) that the position remained open or was filled by a
similarly qualified applicant outside of the plaintiffs protected class, or that other

 

2 VCU moves to dismiss pursuant to Rules 12(b)(l) and (12)(b)(6). A motion under Rule l2(b)(1)
tests the court’s subject matter jurisdiction. The plaintiff bears the burden of proving proper
subject matter jurisdiction as the party asserting jurisdiction Adams v. Bain, 697 F.2d 1213, 1219
(4th Cir. 1982). A Rule 12(b)(6) motion gauges the sufficiency of a complaint without resolving
any factual discrepancies or testing the merits of the claims. Republz'can Party of N. C. v. Martin,
980 F.2d 943, 952 (4th Cir. 1992). In considering the motion, a court must accept all allegations
in the complaint as true and must draw all reasonable inferences in favor of the plaintiff Nemet
Chevrolel‘, Ltd. v. Consumerajj’airs.com, Inc., 591 F.3d 250, 253 (4th Cir. 2009) (citing Edwara's
v. Cin of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999)). The principle that a court must accept
all allegations as true, however, does not apply to legal conclusions Ashcroft v. Iqbal, 556 U.S.
662, 678 (2009). 'l`o survive a Rule 12(b)(6) motion to dismiss, a complaint must state facts that,
when accepted as true, state a claim to relief that is plausible on its face. Id. “A claim has facial
plausibility When the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” Id. (citing Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 556 (2007)).

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employees who are not members of the protected class Were retained under similar
circumstances

Ze-Ze v. Kaz'ser Permanente Mid-Atl. States Regions, lnc., 833 F. Supp. 2d 543, 548 (E.D. Va.
2011).

As an African American woman, Michael qualifies as a member of a protected class. See
ia'. at 549. Michael, however, fails to allege that she suffered from adverse employment action.
This element requires “a discriminatory act which adversely affects the terms, conditions, or
benefits of a plaintiffs employment.” James v. Booz-Allen & Hamilton, Inc., 368 F.3d 371, 375
(4th Cir. 2004) (internal citation omitted). Disciplinary actions that do not result in the loss of pay
or position do not constitute adverse employment action. See Thompson v. Potomac Elec. Power
Co., 312 F.3d 645, 651-52 (4th Cir. 2002).

Neither Michael’s increased workload nor her poor performance evaluation led to a loss of
pay or position.3 These actions were not “essentially . . . career-ending” or “harbinger[s] of
dismissal.” Mveng-th'tted v. Va. State Univ., No. 3:11-cv-842, 2012 WL 3686285, at *5 (E.D.
Va. Aug. 24, 2012). Moreover, Kniska falsely criticized Michael’s performance and denied her
request to attend a conference, which do not qualify as adverse employment actions. See Taylor
v. Republic Servs., No. 12-cv-523, 2013 WL 487042, at *5-6 (E.D. Va. Feb. 6, 2013) (rejecting
discrimination claims based on “fabricated criticisms,” “false negative evaluations,” and

“restricted travel”).4 For these reasons, the Court will dismiss Count I.

 

3 Michael tries to allege adverse employment action by claiming that VCU constructively
discharged her, but her facts do not support this claim. To demonstrate constructive discharge,
Michael would have to plead that VCU, motivated by racial bias, deliberately made her Working
conditions objectively intolerable Honor v. Booz-Allen & Hamilton, Inc., 383 F.3d 180, 186-87
(4th Cir. 2004). Michael’s facts do not indicate she can meet this “stringent” intolerability
standard. Nnaa'ozie v. Genesis Healthcare Corp., 730 F. App’x 151, 162 (4th Cir. 2018).

4 Michael also argues that VCU treated her differently from Caucasian employees. To base her
discrimination claims on this theory, however, Michael must identify employees “similar in all

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B. Count II.' Hostile Work En vironment

To plead a hostile work environment claim, a plaintiff must show (l) unwelcome conduct;
(2) due to her race; (3) that was “sufficiently severe or pervasive to alter the plaintiffs conditions
of employment and to create an abusive work environment;” and (4) that can be imputed to her
employer. Boyer-Lz'berto v. Fontainebleau Corp. , 786 F.3d 264, 277 (4th Cir. 2015). To determine
if the offending conduct was severe or pervasive, courts consider the totality of the circumstances,
including (1) frequency; (2) severity; (3) whether the conduct was physically threatening or
humiliating, or merely an offensive utterance; and (4) Whether the conduct unreasonably interfered
With the plaintiffs work performance Clark Cly. Sch. Dist. v. Breeden, 532 U.S. 268, 270-71
(2001). An offensive epithet, simple teasing, and offhand remarks will not satisfy the test. Boyer,
786 F.3d at 277. Unless notably severe, isolated incidents will not suffice. ld.

Michael does not allege conduct that meets the severe or pervasive standard Rather than
physically threatening or humiliating Michael, Kniska’s comments amounted to “offensive
utterance[s]” that did not unreasonably interfere with Michael’s performance See Clark Cly. Sch.
Dist., 532 U.S. at 270-71. Moreover, the derogatory comments did not occur on a “continuous
daily” basis. Spriggs v. Diamond Auto Glass, 242 F.3d 179, 184 (4th Cir. 2001). Although
“hostile work environment claims often involve repeated conduct,” isolated incidents can meet the
standard if they qualify as “extremely serious.” Boyer-Lz'berto, 786 F.3d at 277. Here, Kniska’s
isolated offhand remarks do not reach the level of “extremely serious.” Id. Accordingly, the Court

Will dismiss Count II.

 

relevant aspects” to Michael. Haywooa' v. Locke, 387 F. App’x 35 5, 359 (4th Cir. 2010). She has
not done so in her amended complaint

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C. Counts III- V: Retaliation

A plaintiff alleging retaliation must plead that (l) she engaged in a protected activity; (2)
her employer took materially adverse action against her; and (3) the protected activity caused the
adverse action. Strothers v. City of Laurel, 895 F.3d 317, 327-28 (4th Cir. 2018). Complaining to
supervisors about potential Title VII violations can constitute protected activity. Ingleson v.
Burlz'ngton Mea’. Supplz'es, Inc., 141 F. Supp. 3d 579, 584 (E.D. Va. 2015). With regard to the
second element, an employer’s conduct must be “so materially adverse as to dissuade a reasonable
employee from engaging in protected activity.” Hinton v. Va. Union Univ., 185 F. Supp. 3d 807,
834 (E.D. Va. 2016). This element creates a lower standard than adverse action requirements in
other contexts, but even under the more relaxed standard, reprimands without collateral
consequences, snubbing, antipathy, and “petty slights” do not qualify as adverse action. Id. at 831-
32, Finally, a plaintiff alleging retaliation must show that her protected activity serves as the “but-
for” cause of her employer’s adverse action. Ingleson, 141 F. Supp. 3d at 583.

A negative performance review or a performance improvement plan alone will not
constitute materially adverse action. Emami v. Bola'en, 241 F. Supp. 3d 673, 685 (E.D. Va. 2017).
A poor review or performance plan, however, can support an adverse action claim if the employer
relies upon it to later take additional action, such as discharging or demoting the employee. See
id. (holding that placing the plaintiff on a performance improvement plan met the standard because
the plan imposed conditions that led to his firing).

Michael engaged in protected activity When she spoke with a supervisor and filed a formal
complaint regarding Kniska’s comments about African American women. See lngleson, 141 F.
Supp. 3d at 584. Michael fails to establish, however, that VCU took materially adverse action

against her. Michael’s poor performance evaluation, even if Kniska fabricated it, did not

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precipitate any discharge, demotion, loss of pay, or other collateral consequence Without
something more, the evaluation would not dissuade a reasonable employee from reporting
discrimination See Emami, 241 F. Supp. 3d at 685; see also Wilson v. City of Chesapeake, 290 F.
Supp. 3d 444, 462 (E.D. Va. 2018) (noting that a reprimand alone cannot form the basis of a
retaliation claim).

Similarly, an increased workload would not discourage a reasonable employee from
engaging in protected activity. Hughes v. Navy Fed. Credit Um`on, No. 1:10-cv-1430, 2012 WL
32404, at *13 (E.D. Va. Jan. 4, 2012). Kniska’s critiques and e-mail communication, moreover,
resemble the “petty slights[ or] minor annoyances” that Title VII does not prohibit Hinton, 185
F. Supp. 3d at 832. Additionally, Kniska’s denial of Michael’s request to attend a conference does
not meet the standard. Cf Wilson, 290 F. Supp. 3d at 462 (holding that “marginally fewer
opportunities” would not “dissuade[] a reasonable worker from making or supporting a charge of
discrimination”). Finally, Michael alleges that VCU’s database listed her as “terminated” after
she resigned, which delayed her start date at her next job.5 Michael fails to include any facts
indicating that VCU coded her differently from its normal practice due to her complaints In any
event, ambiguous post-employment coding would not deter a reasonable employee from reporting
discrimination

Because Michael does not adequately plead the second element of her retaliation claims,

the Court will dismiss Counts III~V.

 

5 Michael also alleges that VCU used her “terminated” status to deny her continued benefits The
Court determined in its prior Opinion that Michael’s benefits ended pursuant to the
Commonwealth’s healthcare plan, which VCU Submitted in support of its first motion to dismiss,

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D. Count VI: Intentional Infliction of Emotional Distress

The Eleventh Amendment grants sovereign immunity to states and state agents like VCU.
See Rector & Visitors of the Univ. of Va. v. Carter, 267 Va. 242, 244, 591 S.E.2d 76, 78 (2004)
(finding University of Virginia a state agency under protection of sovereign immunity); see also
Va. Code Ann. § 23. 1-23 00 (creating VCU through Virginia statute). Although VCU waived its
Eleventh Amendment immunity when it removed this case to federal court, Sansotta v. Town of
Nags Head, 724 F.3d 533, 546 (4th Cir. 2013), VCU did not waive its broader state sovereign
immunity. See Stewart v. North Carolina, 393 F.3d 484, 488 (4th Cir. 2005) (noting that Eleventh
Amendment immunity is only “an example of state sovereign immunity as it applies to suits filed
in federal court against unconsenting states”); see also Beaulieu v. Vermont, 807 F.3d 478, 490
(2d Cir. 2015) (“[W]hile a state defendant’s removal waives the state’s Eleventh Amendment
immunity, it does not waive the state’s general sovereign immunity.”).

VCU thus enjoys immunity absent an express statutory or constitutional waiver. Patten v.
Commonwealth, 262 Va. 654, 658, 553 S.E.2d 517, 519 (2001). While the Virginia Tort Claims
Act (“VTCA”) provides a limited waiver of sovereign immunity in suits against the
Commonwealth, that waiver does not apply to agencies like VCU. Adkins v. Rectors & Visitors
of George Mason Univ., No. 1215-cv-879, 2015 WL 5638102, at *2 (E.D. Va. Sept. 23, 2015).
The VTCA does not save Michael’s IIED claim, and Michael has cited no other evidence that
VCU has waived its sovereign immunity. Accordingly, the Court will dismiss Count VI.

M_CM
For these reasons, the Court will grant VCU’s motion to dismiss the amended complaint

The Court Will enter an appropriate Order.

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Let the Clerk send a copy ofthis Opinion to all counsel Ofrecord.

 

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Richmond’ VA a JO\m A. Gibney,_ir._/ )/
Unith Statcs District Judge

 

 

 

